        Case 2:23-cv-01438-PD Document 131 Filed 08/23/24 Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 ASSATA ACEY
                                             Case No.: 2:23-cv-01438
                         Plaintiff,
 v.                                          Judge Paul S. Diamond

 INDUCTEV

                       Defendant.

           INDUCTEV’S MOTION FOR SUMMARY JUDGMENT

      Defendant, InductEV (“Defendant”) respectfully moves this Court for entry

of summary judgment in its favor and against Plaintiff, Assata Acey (“Plaintiff”) on

all claims pursuant to Rule 56 of the Federal Rules of Civil Procedure because there

is no dispute as to any material fact and Defendant is entitled to judgment as a matter

of law. In support of its Motion, Defendant relies on the attached Memorandum of

Law and Statement of Undisputed Material Facts and exhibits thereto, which are

incorporated herein by reference.

                                           FOX ROTHSCHILD LLP

                                           /s/ Randall C. Schauer
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       Case 2:23-cv-01438-PD Document 131 Filed 08/23/24 Page 2 of 3




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Date: August 23, 2024




                                     2
        Case 2:23-cv-01438-PD Document 131 Filed 08/23/24 Page 3 of 3




                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on August 23, 2024, a true and correct

copy of the foregoing document was served on all parties via electronic mail per the

addresses contained on the docket in this matter.




                                             FOX ROTHSCHILD LLP

                                             /s/ Randall C. Schauer
                                             Randall C. Schauer, Esquire
                                             Attorney for Defendant, InductEV




                                         3
